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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  EXPPHA, LLC f/k/a PREFERRED
  PHYSICIANS HEALTHCARE
  ALLIANCE, L.C.,

          Plaintiff,

  vs.                                                    Case No.: 6:12-cv-01928-RBD-GJK

  KEPRO ACQUISITIONS, INC.,

        Defendant.
  _________________________________/

                             KEPRO ACQUISITIONS, INC.’S
                          ANSWER AND AFFIRMATIVE DEFENSES

          Defendant, KePRO Acquisitions, Inc. (“KePRO”), answers Plaintiff’s Complaint and

  Demand for Jury Trial (“Complaint”) (Dkt. 2), and as to each correspondingly numbered

  paragraph states as follows:

          1.      The referenced documents speak for themselves; otherwise denied.

          2.      Admitted.

          3.      KePRO lacks knowledge or information sufficient to form a belief about the

  truth of the allegations.

          4.      Admitted.

          5.      Admitted.

          6.      Admitted as to KePRO; otherwise denied.

          7.      KePRO lacks knowledge or information sufficient to form a belief about the

  truth of the allegations.




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          8.      Denied.

          9.      Denied.

          10.     Denied.

          11.     Denied.

          12.     KePRO lacks knowledge or information sufficient to form a belief about the

  truth of the allegations.

          13.     Admitted that the parties entered into the Agreement; otherwise denied.

          14.     The referenced documents speak for themselves; otherwise denied.

          15.     The referenced documents speak for themselves; otherwise denied.

          16.     Denied.

          17.     Denied.

          18.     Denied.

          19.     The referenced documents speak for themselves; otherwise denied.

          20.     Denied.

          21.     Denied.

          22.     Denied.

          23.     Denied.

          24.     Denied.

          25.     Denied.

          26.     Denied.

          27.     Denied.




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                                      COUNT I
                                 BREACH OF CONTRACT

           28.   Denied.

           29.   KePRO reasserts its responses to the allegations in paragraphs 1 through 27,

  above.

           30.   Admitted.

           31.   The referenced documents speak for themselves; otherwise denied.

           32.   The referenced documents speak for themselves; otherwise denied.

           33.   Denied.

           34.   Denied.

           35.   Denied.

           36.   Denied.

                                     GENERAL DENIAL

           37.   KePRO denies all allegations in the Complaint that it has not specifically

  admitted, above.

                                AFFIRMATIVE DEFENSES

                                   First Affirmative Defense
                             (Failure To State A Cause of Action)

           38.   EXPPHA has failed to state a cause of action.

                                 Second Affirmative Defense
                                        (Discharge)

           39.   EXPPHA materially breached the Agreement, and thus discharged KePRO’s

  obligations under the Agreement.




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                                   Third Affirmative Defense
                                       (Mutual Mistake)

         40.     KePRO and EXPPHA entered into the Agreement as the result of a mutual

  mistake.

                                  Fourth Affirmative Defense
                                       (Unclean Hands)

         41.     EXPPHA acted with unclean hands, KePRO was the target of EXPPHA’s

  conduct, and KePRO relied to its detriment on EXPPHA’s improper conduct.

                                   Fifth Affirmative Defense
                                   (Frustration of Purpose)

         42.     The purposes for which KePRO bargained, which were known to EXPPHA,

  have been frustrated because of the failure of consideration.

                                   Sixth Affirmative Defense
                                          (Payment)

         43.     KePRO has satisfied EXPPHA’s claim through payment of money or

  discharge of obligation.

                                  Seventh Affirmative Defense
                                     (Damages Required)

         44.     EXPPHA was not damaged because it did not lose any funds due under the

  Agreement.




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                                        RELIEF REQUESTED

            WHEREFORE, KePRO respectfully requests that the Court enter judgment in its

  favor and against EXPPHA, award KePRO its attorneys’ fees and costs incurred in this

  action in defending Count I as provided in the Agreement, and grant such other relief as is

  necessary to protect its rights and interests.

  Dated: January 4, 2013                             Respectfully submitted,


                                                     /s/ David B. Weinstein
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                                    CERTIFICATE OF SERVICE

            I certify that on January 4, 2013, I electronically filed the foregoing with the Clerk of the

  Court by using the CM/ECF system, which will send a notice of electronic filing to counsel of

  record.

                                                     /s/ David B. Weinstein
                                                     Attorney


  TPA 511,744,772




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